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11                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
12
13    DAVID VACCARO, individually and )                Case No.
14    on behalf of all others similarly situated, )
                                                  )    CLASS ACTION
15    Plaintiff,                                  )
16                                                )    COMPLAINT FOR VIOLATIONS
             vs.                                  )    OF:
17
                                                  )
18    THE JONATHAN AGENCY AND                     )       1.      NEGLIGENT VIOLATIONS
                                                                  OF THE TELEPHONE
19    INSURANCE BROKERAGE, INC., )                                CONSUMER PROTECTION
      and DOES 1 through 10, inclusive, and )                     ACT [47 U.S.C. §227(b)]
20    each of them,                               )       2.      WILLFUL VIOLATIONS
                                                                  OF THE TELEPHONE
21                                                )               CONSUMER PROTECTION
      Defendants.                                 )               ACT [47 U.S.C. §227(b)]
22                                                        3.      NEGLIGENT VIOLATIONS
                                                  )
                                                                  OF THE TELEPHONE
23                                                )               CONSUMER PROTECTION
24
                                                  )               ACT [47 U.S.C. §227(c)]
                                                  )       4.      WILLFUL VIOLATIONS
25                                                                OF THE TELEPHONE
                                                  )               CONSUMER PROTECTION
26                                                )               ACT [47 U.S.C. §227(c)]
                                                  )
27                                                )
28                                                )    DEMAND FOR JURY TRIAL



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 1          Plaintiff DAVID VACCARO (“Plaintiff”), individually and on behalf of all
 2    others similarly situated, alleges the following upon information and belief based
 3    upon personal knowledge:
 4                                NATURE OF THE CASE
 5          1.     Plaintiff brings this action individually and on behalf of all others
 6    similarly situated seeking damages and any other available legal or equitable
 7    remedies resulting from the illegal actions of THE JONATHAN AGENCY AND
 8    INSURANCE BROKERAGE, INC. (“Defendant”), in negligently, knowingly,
 9    and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone in violation of
10    the Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and
11    related regulations, specifically the National Do-Not-Call provisions, thereby
12    invading Plaintiff’s privacy.
13                               JURISDICTION & VENUE
14          2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
15    a resident of California, seeks relief on behalf of a Class, which will result in at
16    least one class member belonging to a different state than that of Defendant, a
17    California company. Plaintiff also seeks up to $1,500.00 in damages for each call
18    in violation of the TCPA, which, when aggregated among a proposed class in the
19    thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
20    Therefore, both diversity jurisdiction and the damages threshold under the Class
21    Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
22          3.     Venue is proper in the United States District Court for the Central
23    District of California pursuant to 28 U.S.C. § 1391(b) and because Defendant does
24    business within the State of California and Plaintiff resides within the County of
25    Los Angeles.
26                                         PARTIES
27          4.     Plaintiff, DAVID VACCARO (“Plaintiff”), is a natural person
28    residing in Redondo Beach, California and is a “person” as defined by 47 U.S.C. §


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 1    153 (39).
 2          5.     Defendant, THE JONATHAN AGENCY AND INSURANCE
 3    BROKERAGE, INC. (“Defendant”) is an insurance brokerage company, and is a
 4    “person” as defined by 47 U.S.C. § 153 (39).
 5          6.     The above named Defendant, and its subsidiaries and agents, are
 6    collectively referred to as “Defendants.” The true names and capacities of the
 7    Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 8    currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 9    names. Each of the Defendants designated herein as a DOE is legally responsible
10    for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
11    Complaint to reflect the true names and capacities of the DOE Defendants when
12    such identities become known.
13          7.     Plaintiff is informed and believes that at all relevant times, each and
14    every Defendant was acting as an agent and/or employee of each of the other
15    Defendants and was acting within the course and scope of said agency and/or
16    employment with the full knowledge and consent of each of the other Defendants.
17    Plaintiff is informed and believes that each of the acts and/or omissions complained
18    of herein was made known to, and ratified by, each of the other Defendants.
19                               FACTUAL ALLEGATIONS
20          8.     Beginning in or around January of 2018, Defendant contacted Plaintiff
21    on Plaintiff’s cellular telephone number ending in -3928, in an attempt to solicit
22    Plaintiff to purchase Defendant’s services.
23          9.     When Defendant called Plaintiff’s telephone number, it would leave
24    pre-recorded voicemails attempting to induce Plaintiff to purchase life insurance.
25          10.    Defendant used an “automatic telephone dialing system” as defined
26    by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
27          11.    Defendant contacted or attempted to contact Plaintiff from telephone
28    number (310) 739-2600 confirmed to be Defendant’s number.


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 1          12.    Defendant’s calls constituted calls that were not for emergency
 2    purposes as defined by 47 U.S.C. § 227(b)(1)(A).
 3          13.    Defendant’s calls were placed to telephone number assigned to a
 4    cellular telephone service for which Plaintiff incurs a charge for incoming calls
 5    pursuant to 47 U.S.C. § 227(b)(1).
 6          14.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 7    express consent” to receive calls using an automatic telephone dialing system or an
 8    artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 9    227(b)(1)(A).
10          15.    Further, Plaintiff’s cellular telephone number ending in -3928 was
11    added to the National Do-Not-Call Registry on or about July 2, 2003, well over
12    thirty (30) days prior to Defendant’s initial call to Plaintiff.
13          16.    Defendant placed multiple calls soliciting its business to Plaintiff on
14    his cellular telephone ending in -3928 in or around January of 2018.
15          17.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
16    64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
17          18.    Plaintiff received numerous solicitation calls from Defendant within a
18    12-month period.
19          19.    Defendant continued to call Plaintiff in an attempt to solicit its
20    services and in violation of the National Do-Not-Call provisions of the TCPA.
21          20.    Upon information and belief, and based on Plaintiff’s experiences of
22    being called by Defendant after being on the National Do-Not-Call list for several
23    years prior to Defendant’s initial call, and at all relevant times, Defendant failed to
24    establish and implement reasonable practices and procedures to effectively prevent
25    telephone solicitations in violation of the regulations prescribed under 47 U.S.C. §
26    227(c)(5).
27                                 CLASS ALLEGATIONS
28          21.    Plaintiff brings this action individually and on behalf of all others


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 1    similarly situated, as a member the two proposed classes (hereafter, jointly, “The
 2    Classes”).
 3          22.    The class concerning the ATDS claim for no prior express consent
 4    (hereafter “The ATDS Class”) is defined as follows:
 5
                   All persons within the United States who received any
 6                 solicitation/telemarketing   telephone   calls    from
 7                 Defendant to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
 8
                   system or an artificial or prerecorded voice and such
 9                 person had not previously consented to receiving such
10
                   calls within the four years prior to the filing of this
                   Complaint
11
12          23.    The class concerning the National Do-Not-Call violation (hereafter
13    “The DNC Class”) is defined as follows:
14
                   All persons within the United States registered on the
15                 National Do-Not-Call Registry for at least 30 days, who
16                 had not granted Defendant prior express consent nor had
                   a prior established business relationship, who received
17
                   more than one call made by or on behalf of Defendant
18                 that promoted Defendant’s products or services, within
19                 any twelve-month period, within four years prior to the
                   filing of the complaint.
20
21          24.    Plaintiff represents, and is a member of, The ATDS Class, consisting
22    of all persons within the United States who received any solicitation telephone calls
23    from Defendant to said person’s cellular telephone made through the use of any
24    automatic telephone dialing system or an artificial or prerecorded voice and such
25    person had not previously not provided their cellular telephone number to
26    Defendant within the four years prior to the filing of this Complaint.
27          25.    Plaintiff represents, and is a member of, The DNC Class, consisting
28    of all persons within the United States registered on the National Do-Not-Call


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 1    Registry for at least 30 days, who had not granted Defendant prior express consent
 2    nor had a prior established business relationship, who received more than one call
 3    made by or on behalf of Defendant that promoted Defendant’s products or services,
 4    within any twelve-month period, within four years prior to the filing of the
 5    complaint.
 6          26.    Defendant, its employees and agents are excluded from The Classes.
 7    Plaintiff does not know the number of members in The Classes, but believes the
 8    Classes members number in the thousands, if not more. Thus, this matter should
 9    be certified as a Class Action to assist in the expeditious litigation of the matter.
10          27.    The Classes are so numerous that the individual joinder of all of its
11    members is impractical. While the exact number and identities of The Classes
12    members are unknown to Plaintiff at this time and can only be ascertained through
13    appropriate discovery, Plaintiff is informed and believes and thereon alleges that
14    The Classes includes thousands of members. Plaintiff alleges that The Classes
15    members may be ascertained by the records maintained by Defendant.
16          28.    Plaintiff and members of The ATDS Class were harmed by the acts of
17    Defendant in at least the following ways: Defendant illegally contacted Plaintiff
18    and ATDS Class members via their cellular telephones thereby causing Plaintiff
19    and ATDS Class members to incur certain charges or reduced telephone time for
20    which Plaintiff and ATDS Class members had previously paid by having to retrieve
21    or administer messages left by Defendant during those illegal calls, and invading
22    the privacy of said Plaintiff and ATDS Class members.
23          29.    Common questions of fact and law exist as to all members of The
24    ATDS Class which predominate over any questions affecting only individual
25    members of The ATDS Class. These common legal and factual questions, which
26    do not vary between ATDS Class members, and which may be determined without
27    reference to the individual circumstances of any ATDS Class members, include,
28    but are not limited to, the following:


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 1                 a.     Whether, within the four years prior to the filing of this
 2                        Complaint, Defendant made any telemarketing/solicitation call
 3                        (other than a call made for emergency purposes or made with
 4                        the prior express consent of the called party) to a ATDS Class
 5                        member using any automatic telephone dialing system or any
 6                        artificial or prerecorded voice to any telephone number
 7                        assigned to a cellular telephone service;
 8                 b.     Whether Plaintiff and the ATDS Class members were damaged
 9                        thereby, and the extent of damages for such violation; and
10                 c.     Whether Defendant should be enjoined from engaging in such
11                        conduct in the future.
12          30.    As a person that received numerous telemarketing/solicitation calls
13    from Defendant using an automatic telephone dialing system or an artificial or
14    prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
15    claims that are typical of The ATDS Class.
16          31.    Plaintiff and members of The DNC Class were harmed by the acts of
17    Defendant in at least the following ways: Defendant illegally contacted Plaintiff
18    and DNC Class members via their telephones for solicitation purposes, thereby
19    invading the privacy of said Plaintiff and the DNC Class members whose telephone
20    numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
21    members were damaged thereby.
22          32.    Common questions of fact and law exist as to all members of The
23    DNC Class which predominate over any questions affecting only individual
24    members of The DNC Class. These common legal and factual questions, which do
25    not vary between DNC Class members, and which may be determined without
26    reference to the individual circumstances of any DNC Class members, include, but
27    are not limited to, the following:
28                 a.     Whether, within the four years prior to the filing of this


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 1                       Complaint, Defendant or its agents placed more than one
 2                       solicitation call to the members of the DNC Class whose
 3                       telephone numbers were on the National Do-Not-Call Registry
 4                       and who had not granted prior express consent to Defendant and
 5                       did not have an established business relationship with
 6                       Defendant;
 7                 b.    Whether Defendant obtained prior express written consent to
 8                       place solicitation calls to Plaintiff or the DNC Class members’
 9                       telephones;
10                 c.    Whether Plaintiff and the DNC Class member were damaged
11                       thereby, and the extent of damages for such violation; and
12                 d.    Whether Defendant and its agents should be enjoined from
13                       engaging in such conduct in the future.
14          33.    As a person that received numerous solicitation calls from Defendant
15    within a 12-month period, who had not granted Defendant prior express consent
16    and did not have an established business relationship with Defendant, Plaintiff is
17    asserting claims that are typical of the DNC Class.
18          34.    Plaintiff will fairly and adequately protect the interests of the members
19    of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
20    class actions.
21          35.    A class action is superior to other available methods of fair and
22    efficient adjudication of this controversy, since individual litigation of the claims
23    of all Classes members is impracticable. Even if every Classes member could
24    afford individual litigation, the court system could not. It would be unduly
25    burdensome to the courts in which individual litigation of numerous issues would
26    proceed. Individualized litigation would also present the potential for varying,
27    inconsistent, or contradictory judgments and would magnify the delay and expense
28    to all parties and to the court system resulting from multiple trials of the same


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 1    complex factual issues. By contrast, the conduct of this action as a class action
 2    presents fewer management difficulties, conserves the resources of the parties and
 3    of the court system, and protects the rights of each Classes member.
 4          36.    The prosecution of separate actions by individual Classes members
 5    would create a risk of adjudications with respect to them that would, as a practical
 6    matter, be dispositive of the interests of the other Classes members not parties to
 7    such adjudications or that would substantially impair or impede the ability of such
 8    non-party Class members to protect their interests.
 9          37.    Defendant has acted or refused to act in respects generally applicable
10    to The Classes, thereby making appropriate final and injunctive relief with regard
11    to the members of the Classes as a whole.
12                              FIRST CAUSE OF ACTION
13           Negligent Violations of the Telephone Consumer Protection Act
14                                    47 U.S.C. §227(b).
15                              On Behalf of the ATDS Class
16          38.    Plaintiff repeats and incorporates by reference into this cause of action
17    the allegations set forth above at Paragraphs 1-37.
18          39.    The foregoing acts and omissions of Defendant constitute numerous
19    and multiple negligent violations of the TCPA, including but not limited to each
20    and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
21    47 U.S.C. § 227 (b)(1)(A).
22          40.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
23    Plaintiff and the Class Members are entitled an award of $500.00 in statutory
24    damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
25          41.    Plaintiff and the ATDS Class members are also entitled to and seek
26    injunctive relief prohibiting such conduct in the future.
27    ///
28    ///


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 1                               SECOND CAUSE OF ACTION
 2      Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                             Act
 4                                     47 U.S.C. §227(b)
 5                               On Behalf of the ATDS Class
 6           42.    Plaintiff repeats and incorporates by reference into this cause of action
 7     the allegations set forth above at Paragraphs 1-37.
 8           43.    The foregoing acts and omissions of Defendant constitute numerous
 9     and multiple knowing and/or willful violations of the TCPA, including but not
10     limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
11     and in particular 47 U.S.C. § 227 (b)(1)(A).
12           44.    As a result of Defendant’s knowing and/or willful violations of 47
13     U.S.C. § 227(b), Plaintiff and the ATDS Class members are entitled an award of
14     $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
15     § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
16           45.    Plaintiff and the Class members are also entitled to and seek injunctive
17     relief prohibiting such conduct in the future.
18                               THIRD CAUSE OF ACTION
19            Negligent Violations of the Telephone Consumer Protection Act
20                                     47 U.S.C. §227(c)
21                                On Behalf of the DNC Class
22           46.    Plaintiff repeats and incorporates by reference into this cause of action
23     the allegations set forth above at Paragraphs 1-37.
24           47.    The foregoing acts and omissions of Defendant constitute numerous
25     and multiple negligent violations of the TCPA, including but not limited to each
26     and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
27     47 U.S.C. § 227 (c)(5).
28           48.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),


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 1     Plaintiff and the DNC Class Members are entitled an award of $500.00 in statutory
 2     damages, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
 3           49.      Plaintiff and the DNC Class members are also entitled to and seek
 4     injunctive relief prohibiting such conduct in the future.
 5                               FOURTH CAUSE OF ACTION
 6      Knowing and/or Willful Violations of the Telephone Consumer Protection
 7                                               Act
 8                                     47 U.S.C. §227 et seq.
 9                                 On Behalf of the DNC Class
10           50.      Plaintiff repeats and incorporates by reference into this cause of action
11     the allegations set forth above at Paragraphs 1-37.
12           51.      The foregoing acts and omissions of Defendant constitute numerous
13     and multiple knowing and/or willful violations of the TCPA, including but not
14     limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
15     in particular 47 U.S.C. § 227 (c)(5).
16           52.      As a result of Defendant’s knowing and/or willful violations of 47
17     U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled an award of
18     $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
19     § 227(c)(5).
20           53.      Plaintiff and the DNC Class members are also entitled to and seek
21     injunctive relief prohibiting such conduct in the future.
22                                   PRAYER FOR RELIEF
23     WHEREFORE, Plaintiff requests judgment against Defendant for the following:
24                                FIRST CAUSE OF ACTION
25            Negligent Violations of the Telephone Consumer Protection Act
26                                       47 U.S.C. §227(b)
27                  As a result of Defendant’s negligent violations of 47 U.S.C.
28                    §227(b)(1), Plaintiff and the ATDS Class members are entitled to and


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 1                request $500 in statutory damages, for each and every violation,
 2                pursuant to 47 U.S.C. 227(b)(3)(B).
 3                Any and all other relief that the Court deems just and proper.
 4                           SECOND CAUSE OF ACTION
 5      Knowing and/or Willful Violations of the Telephone Consumer Protection
 6                                           Act
 7                                   47 U.S.C. §227(b)
 8                As a result of Defendant’s willful and/or knowing violations of 47
 9                U.S.C. §227(b)(1), Plaintiff and the ATDS Class members are
10                entitled to and request treble damages, as provided by statute, up to
11                $1,500, for each and every violation, pursuant to 47 U.S.C.
12                §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
13                Any and all other relief that the Court deems just and proper.
14                            THIRD CAUSE OF ACTION
15           Negligent Violations of the Telephone Consumer Protection Act
16                                   47 U.S.C. §227(c)
17                As a result of Defendant’s negligent violations of 47 U.S.C.
18                §227(c)(5), Plaintiff and the DNC Class members are entitled to and
19                request $500 in statutory damages, for each and every violation,
20                pursuant to 47 U.S.C. 227(c)(5).
21                Any and all other relief that the Court deems just and proper.
22                           FOURTH CAUSE OF ACTION
23      Knowing and/or Willful Violations of the Telephone Consumer Protection
24                                           Act
25                                   47 U.S.C. §227(c)
26                As a result of Defendant’s willful and/or knowing violations of 47
27                U.S.C. §227(c)(5), Plaintiff and the DNC Class members are entitled
28                to and request treble damages, as provided by statute, up to $1,500,


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 1                  for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
 2                  Any and all other relief that the Court deems just and proper.
 3                                        JURY TRIAL
 4           54.    Pursuant to the Seventh Amendment to the Constitution of the United
 5     States of America, Plaintiff is entitled to, and demands, a trial by jury.
 6
 7
 8           Respectfully Submitted this 18th Day of July, 2018.
 9                                LAW OFFICES OF TODD M. FRIEDMAN, P.C.
10
                                         By: /s/ Todd M. Friedman
11                                           Todd M. Friedman
12
                                             Law Offices of Todd M. Friedman
                                             Attorney for Plaintiff
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